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                                                                                                                    ,



                                                        IN THE UNITED STATES DISTRICT COURT
                                                        FOR THE DISTRICT OF SOUTH CAROLINA

                                                           ,Z?,'18t'1
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           -=-...:..:...::+=:....=-....=c,...,,,...,t.::.:.f..::::!:;J:)=...f',....:...._ _ _ _ _ _ _ _ _ _ _ _ )   Civil Action No. _ _ _ _ _ _ _ _ _ __
          {Enter      efu/1 name of the plaintiff in this action]                                              )                          (to be assigned by Clerk)
                                                                                                               )
                                                                                                               )                COMPLAINT
          v.                                                                                                   )                   State Prisoner
                                                                                                               )
                                                                                                               )
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                                                                                                               )
                                                                                                               )
                                                                                                               )
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                                                                                                               )
                                                                                                               )
                             .   ,',   ,:.. . ;                                                                )
          Enter above the full name ofdefendant(s) in this action                                              )


          I.     PREVIOUS LAWSUITS

                 A. Have you begun other lawsuits in state or federal court dealing with the same facts involved in this action or
                    otherwise related to your imprisonment?                             Yes___                     No                               V
                 B. If your answer to A is Yes, describe the lawsuit in the space below. If there is more than one lawsuit, describe the
                    additional lawsuits on another piece of paper using the same outline.

                        I.             -~llrties to this previous lawsuit:

                                        Plaintiff:----------------------------------

                                        Defendant(s)=--:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                       2. Court:
                                                       (Iffederal court, name the district;          if state court, name the county)
                       3. Docket Number:

                       4. Name(s) of Judge(s) to whom case was assigned:
                                                                                                                                                               ...
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                       5. Disposition:                                                                                                                                  rl1
                                                        (For example, was the case dismissed? Appealed? Pending?)                                                     - ,,,
                                                                                                                                                                      :,,;:('")
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                       6. Approximate date of filing lawsuit:                                                                                                  >
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                                                                                                                                                               9      :t
                       7. Approximate date of disposition:
                                                                                                                                                               .r     .►
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II.   PLACE OF PRESENT CONFINEMENT

      A. Name of Prison/Jail/Institution:     'nY-oM 3\,'1-e.r C.orrec..V..oC\o-l         ~'!l"ti~ Of)

      B. What are the issues that you are attempting to litigate in the above-captioned case?       "Der-.·10.\ o ~



      C. (1)      Is there a prisoner grievance procedure in this institution?     Yes   ✓          No_ __

            (2)   Did you file a grievance concerning the claims you are raising in this matter?        Yes      /            No- - -

                  When    Mo~ :to>       i:to IC\                  GrievanceNumber(ifavailable) '1,?,.C,_':( •       04>-\'1-. l'l
      D. Have you received a final agency/departmental/institutional answer or determination concerning this matter (i.e., your
         grievance)?           Yes ✓            No_ __

      E.    When was the final agency/departmental/institutional answer or determination received by you?             lD - IC\ - }9
           lfposst6fe, please attach a copy ofyour grievance and a copy ofthe highest level decision concerning your grievance
           that you have received

      F.   If there is no prison grievance procedures in this institution,
           did you complain to prison, jail, or institutional authorities?         Yes._ __         No- - -

      G. If your answer is YES:

            1.    What steps did you take?'-,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           2.     What was the result?___________________________________


III. PARTIES

      In Item A below, place your name, inmate number, and address in the space provided. Do the same for additional plaintiffs,
      ifany.

      A. Name orPlaintiff:         ATL)t.e«- '\-tendecsoo                                        Inmate No.:         2.3i S:8:'1
           Address:    1>rccui 'R,~e.< C. J'.... /\AJA· 1t2.I.{ ~         1.\1.\~ol,mr.,.cl '.R"lv:t-<9'd~ C.v\uro'o,a 3 S,.C. t°JHO
                                              J
           In Item B below, place the full name ofthe defendant, his official position, and place ofemployment in the space
           provided Use Item C for additional defendants, if any.

      B. Name ofDefendant:          Micha.\ ~\:e.pbQ.O                                           Position:    W.C). uh.-D


      C. Additional Defendants (provide the same information/or each defendant as listed in Item B above):

           Mc. ~bc,..,.,c, 1}t~h~~ -           k,"!>DtiCl.\e,, ¼c.rnco-hroru-\9'.,"'x: tox;:echQQO.\ ~W~O(\
           Mf. Wo.<'>n·•D~O - A5~oeJa,\.e., \A\o(Of'D ~ 1)r:ood 'ihrec Conerfione,\                                           ~,5~

           t1~.,\0t0r:~3~u,'!ah - Mriy:>" - 'cm0,c\ :K·,'1:e< CD•«t.\:lono\ X-os~:tY,\-toD

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IV.   STATEMENT OF CLAIM

      State here, as briefly as possible, the facts ofyour case. Describe how each defendant is involved. Include also the
      names of other persons involved, dates, and places. Do not give any legal arguments or cite any cases or statutes.
      Ifyou intend to allege a number ofrelated claims, number and set forth each claim in a separate paragraph. Use as
      much space as you need Attach an extra sheet if necessary.

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IV.   STATEMENT OF CLAIM - continued.




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V.   RELIEF      1

                 I
     State briefly/and exactly what you want the court to do for you.

         'rla.,~\,H: Pee ffiO\leA         to Mou\.\x:,e.        (Mt.dtro.\)        Uo;)s::.
        'r\a,Ja~&i:    be,,   ~:v-«o c. y)b :\ho.\: ttu ,Yfb            2 for: '1 to.coed     Nru:'L   c.«d.Hs (~we)
                                  t                                                                    I




     I declare under penalty of perjury that the foregoing is true and correct.

     Signed this -~~'-'f._!h__.___ day of         j l.J OC,                                              '20   Jq



                                                           Signature ofPlaintiff



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